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                           UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE


 UNITED STATES OF AMERICA                                                             PLAINTIFF

 VS.                                     CRIMINAL ACTION NUMBER: 3:13CR-123-JHM

 FREDERICK HARRIS - 01                                                              DEFENDANT



                        REPORT AND RECOMMENDATION
                   CONCERNING PLEA OF GUILTY IN FELONY CASE



        This matter has been referred to Magistrate Judge James D. Moyer by the District Court for

 the purpose of conducting proceedings pursuant to Fed.R.Crim.P. 11. The proceedings were

 recorded by Dena Legg, Official Court Reporter.

        The Defendant, by consent, and with Mark D. Chandler, retained counsel, appeared before

 me on September 2, 2014, and entered a plea of guilty as to Count 1 of the Indictment. The

 defendant entered the plea of guilty pursuant to a Rule 11 (c)(1)(B) plea agreement. A supplemental

 plea agreement was also filed with the Court under seal.

        After cautioning and examining the Defendant under oath concerning each of the subjects

 mentioned in Rule 11, I determined that the guilty plea was knowledgeable and voluntary as to

 Count 1 of the Indictment, and that the offense charged was supported by an independent basis in

 fact concerning each of the essential elements of such an offense. I therefore recommend that the

 plea of guilty be accepted, and that the Defendant be adjudged guilty and have a sentence imposed

 accordingly.   The defendant shall have fourteen (14) days to file any objections to this

 recommendation pursuant to F.R.C.P. 72(b), or waive the opportunity to do so.
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         IT IS HEREBY ORDERED that the defendant shall remain under the terms and conditions

 of his present bond pending sentencing before Chief Judge Joseph H. McKinley, Jr. on December

 10, 2014 at 1:30 p.m.

         This 2nd day of September, 2014.




                                                            September 5, 2014
 Copies to:
 United States Attorney
 Counsel for Defendant
 United States Probation

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